                   IN THE DISTRICT COURT OF THE UNITED STATES
                  FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                               CHARLOTTE DIVISION
                                  3:12-cv-163-FDW
                                 3:07-cr-61-FDW-17

DANIELLE JERMAINE JACKSON,          )
                                    )
                  Petitioner,       )
                                    )
            vs.                     )                       ORDER
                                    )
UNITED STATES OF AMERICA,           )
                                    )
                                    )
                  Respondent.       )
____________________________________)


       This matter is before the Court following the Court’s initial review of Petitioner’s Motion

to Vacate under 28 U.S.C. § 2255, (Doc. No. 1), and the Court’s Order for Petitioner to provide

an explanation why Petitioner’s Motion should not be dismissed as untimely, (Doc. No. 3).

I.     Relevant Procedural Background

       Petitioner pled guilty on October 15, 2007, to conspiring to distribute, and

possessing with the intent to distribute, one or more controlled substances, in violation of

21 U.S.C. § 841(a)(1). Petitioner did not appeal. Judgment was entered on January 5,

2009, and Petitioner was sentenced to 310 months imprisonment. Petitioner’s conviction

became final on or about January 19, 2009, when the time for filing a direct appeal

expired. United States v. Johnson, 203 F.3d 823 (4th Cir. 2000) (unpublished); F ED. R.

A PP. P. 4(b). Petitioner filed the instant Motion to Vacate more than three years later on

March 9, 2012. (Doc. No. 1). Petitioner admitted in the original § 2255 petition that his

Motion to Vacate was not filed within one year of the date in which his conviction




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became final. Petitioner argued, however, that

        [t]he one-year statute of limitations does not apply in my case, because
        under the “AEDPA’s” amendment, [§ 2255(f)(4)] applies to me. “The date
        on which the facts supporting the claim or claims presented could have been
        discovered through the exercise of due diligence” if counsel of record
        would have properly pursued these arguments I have. I waited over 2 years
        for counsel to file a requested appeal. A “COA” should be issued in this
        case.

(Doc. No. 1 at 12). On May 17, 2012, in an abundance of caution this Court entered an Order

granting Petitioner the opportunity to explain why his § 2255 Motion should not be dismissed as

untimely. (Doc. No. 3). In his response to the Court’s Order of May 17, 2012, Petitioner states

that the petition was not timely filed because, despite that he instructed his counsel to file an

appeal, his counsel failed to do so, and counsel failed to explain appellate rules and procedure to

Petitioner. (Doc. No. 4).

II.     Discussion

         To be entitled to equitable tolling, the movant must show (1) that he has diligently

pursued his rights and (2) that some extraordinary circumstance prevented the timely filing.

United States v. Oriakhi, 394 Fed. Appx. 976, 977 (4th Cir. 2010). Equitable tolling is not

appropriate in this case. Petitioner blames the late filing on his counsel’s failure to explain the

appellate process to him, but a petitioner’s “unfamiliarity with the legal process or ignorance of

the law cannot support equitable tolling.” Oriakhi, 394 Fed. Appx. at 977 (citing Harris v.

Hutchinson, 209 F.3d 325, 330-31 (4th Cir. 2000)) (finding no equitable tolling when counsel

erroneously advised the petitioner as to the statute of limitations). While counsel’s failure to file

an appeal after Petitioner instructed him to do so would be ineffective assistance of counsel per

se if raised in a timely filed petition, see Roe v. Flores-Ortega, 528 U.S. 470, 483-86 (2000), it is

not grounds for applying equitable tolling to a petition that is not timely. Furthermore,




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Petitioner has not shown that he was diligent in filing his § 2255 motion, as he filed it more than

three years out of time. In sum, Petitioner has not shown that the circumstances in this case

warrant equitable tolling. Thus, Petitioner’s § 2255 petition must be dismissed as untimely.

       IT IS THEREFORE ORDERED THAT:

       (1) Petitioner’s § 2255 motion, (Doc. No. 1), is dismissed with prejudice as untimely.

       (2) IT IS FURTHER ORDERED that pursuant to Rule 11(a) of the Rules Governing

       Section 2254 and Section 2255 Cases, this Court declines to issue a certificate of

       appealability. See 28 U.S.C. § 2253(c)(2); Miller-El v. Cockrell, 537 U.S. 322, 338

       (2003) (in order to satisfy § 2253(c), a petitioner must demonstrate that reasonable jurists

       would find the district court’s assessment of the constitutional claims debatable or

       wrong); Slack v. McDaniel, 529 U.S. 473, 484 (2000) (when relief is denied on

       procedural grounds, a petitioner must establish both that the dispositive procedural ruling

       is debatable and that the petition states a debatable claim of the denial of a constitutional

       right). Petitioner has failed to make the required showing.




                                                 Signed: October 15, 2012




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